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                 Case 1:18-cv-00021-JMS-WRP
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                                       .,;  Document 1-9 Filed 01/12/18 Page 1 of 1                                                                                                                       PageID #: 82


      (This ·~ontrol No. Mtist
      Accompany All Aprieals)

      NAM~: --£~u. 1,...1r11..f
                             I
      HOUSING:
                            ·-*J  Facility
                                                                                  "                                            ~
      TO: (Step)        1.                       Section supervisor/Inmate Grievance Specialist
                        2.                       Appeal .Branch/Core Program Administrator/I'l..!Tj~te;.~ri~V:~n~l .Sp,ecialist
                             .
                        3. __. _
                                 '\
                                                 Appeal Institutions/Core Program Division A'clfuinistra'tditlil'mate1G~i~vance Specialist
                                                                                                                                       .
      I attempted to solve this problem through informal discussion with: _ _ __ _ _ _ _ _ _ _on _ _ _ _ __
      Resa!ution.could not be obtained because:

      Subject cannot be resolved informally because: - - - - - - - - - - - - - - - - - - - - - - - - -
      Attachments included: (Lo,yeqptep !; Step 2; i'vlisconduct & Hearing (DOC-82!0A); i'vlisconduct Report (DOC-8210) _ _ __
                                                           I




      RESOLUTION: (Do Not Write In This Space. OFFICIAL USE ONLY)

      Per Pol icy COR.17.02, your items were not transferred with you t.o HCF. You were provided
      a property receipt. Another one will be ~ero~ copied and sent to you. Based on your request
      tlOI mail out t:.he i terns to Ms. Borges, we wftl aO. so at your cost as soon r,;s you0 provide the
      address to Waiawa. Send your requeri::.to !)le.

        In accordance with Policy and Procedure co~.12.03.10.4, if dissat:.isfled with this decision,
        you have five (5) calendar da,ys to file an appeal.
- . - ~.4•~.:.~o-~f.-, :-=-·.,;~:.;__,- -.
                                      !    .c . - .. ~-~~k- ..__..1,-~-- --- ... t,· ~~ -l,~.-----~ ...J.:~ ..
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                                                                                               Acting Warden
                                                                                                                                               ..
      SIGNATURE OF Rf;SPONDEl'IT                                                                        TITLE                  f                           · ..           DATE
                                                                                                   .·  (     I              \
      Appea'fs must be filed within five (5) calendar days upon receipt. Signed & dated ROAs must be ret~d . .Step. 3. re.spopses are final.


      INMATE ACKNOWLEDGED RESPONSE                                                             DATE
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      WHITE/File          CANARYf!n!Tlate Answer                             PINK/Respondent    GOLl,)/lnmate Receipt .                        PSD
                                                                                                                                               ..  _. - - (rev. 10/2015)
                                                                                                                                                   8215
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